






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00132-CR







Terry Lenn Sanders aka Austin Hedge, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 63664, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Terry Lenn Sanders seeks to appeal a judgment of conviction for theft of service.  The
trial court has certified that: (1) this is a plea bargain case and Sanders has no right of appeal, and
(2) Sanders waived the right of appeal.  The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).

										


				___________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   April 16, 2009

Do Not Publish 				


